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     AO 199A (Rev. 12111) Order Setting Conditions of Release                                                   Page I of     3   Pages



                                            UNITED STATES DISTRICT COURT
                                                                        for the
                                                                District of Connecticut


                         United States of America                           )
                                       v.                                   )
                           CANDACE RISPOLI                                  )       Case No.     3:18CR00005(VAB)
                                                                            )
                                                                           )
                                   Defendant

                                            ORDER SETTING CONDITIONS OF RELEASE

     IT IS ORDERED that the defendant's release is subject to these conditions:

c rz,(l)   The defendant must not violate federal, state, or local law while on release.

 cQ.<2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

 CQ.P)     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
           any change of residence or telephone number.

 ~)        The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
           the court may impose.

           The defendant must appear at:                                    United States District Court
                                                                                            Place
                                                                    915 Lafayette Boulevard, Bridgeport, CT
           ----------------------------------------------                                      ------------------------------
           on                                                     March 19, 2018, at 9:00a .m.
                                                                          Date and Time


           If blank, defendant will be notified of next appearance.

C\2(5)
                                                                                                                      - -n
           The defendant must sign an Appearance Bond, if ordered.
                                                                                                              c:
    $100,000 to be co-signed by Gary Rispoli                                                               :zCn       ~

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 AO 199B (Rev 12/11) Additional Conditions of Release                                                                                      Page   2   of   3      Pages

                                                        ADDITIONAL CONDITIONS OF RELEASE

          IT IS FURTHER ORDERED that the detendant's release is subject to the conditions marked below:

      )    (6) The defendant is placed in the custody of:
               Person or organization
               Address (only if above is an organi=alion)
               City and state                                                                                       Tel. No .
 who agrees to (a) supervise the defendant, (b) use every etTort to assure the detendant 's appearance at all court proceedings, and (c) notify the court immediately
 if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                               Signed: - - - - - - - - :
                                                                                                            Cusrodian                                      Dare
(~)        (7)       The defendant must:
 en-ex)              (a) submit to supervision by and report for supervision to the
                         telephone number                            , no later than
                                                                                            USPO

  I"' Q_.} X     )   (b) continue or actively seek employment.
  '- (           )   (c) continue or start an education program.
    • ~X         )   (d) surrender any passport to:        Clerk's Office in 8=-r'·id
                                                                                   -'==--..==.=..:....:c..=-;r......=.~-=:..:::CJ_=-=-L..:::. .;:. .c . .:
   ~ X           )   (e) not obtain a passport or other international travel document.
   GJ-<    X     )   (f) abide by the following restrictions on personal association, residence, or travel : ~ ot leave State of Connecticut without
                         ~~P                  a~S~P~--------------------------------
  r-n _( X ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
  \...\-         including: _M ichael Miano                                                                                                 _____ _

 \:. X2J   X         (h) get medical or psychiatric treatment:          a& directed by_\J~PO
                                                                                           ~--------

                     (i) return to custody each _ __ _            at _ _ _ _ o 'clock after being released at _ _ _ _ _ o'clock for employment, schooling,
                         or the tal lowing purposes:

                      (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                          necessary.
  dl-t·   l
            X )
              )
                     (k) not possess a tirearm , destructive device, or other weapon.
                      (I) not use alcohol (        ) at all (     ) excessively.

  dL        X )      (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                          medical practitioner.

 ( .R< X )           (n) submit to testing for a prohibited substance if required by the pretrial services oftice or supervising officer. Testing may be used with random
                          frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                          substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                          substance screening or testing.
           X
 c_'(2_C             (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services of1ice or
                          supervising officer.
                     (p) participate in one of the following location restriction programs and comply with its requireme nts as directed.
                          (    ) (i) Curfew. You are restricted to your residence every day (            ) from                     to               , or (     ) as
                                       directed by the pretrial services office or supervising officer; or
                               ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                       substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                       approved in advance by the pretrial services office or supervising officer; or
                               ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                       court appearances or other activities specifically approved by the court.
                 )   (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                          requirements and instructions provided.
                          (    ) You must pay a ll or part of the cost of the progrmn base d on your ability to pay as determined by the pretrial services office or
                                 supervising officer.

 c:(L      x         (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                         arrests, questioning, or traffic stops.

 (J{t. x             (s) Defendant shall not open any new bank accounts or lines of credit without the advance approval of the USPO.



                         Defendant shall comply with all rules of the USPO and all orders of the probation
                         officer. Any failure to comply with any such rules and/or orders shall constitute a
                         violation of these conditions of release and may result in revocation of bond.
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AO 199C (Rev. 09/08) Advice of Penalties                                                                      Page    3     of     3    Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. Tfyou are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender wi II be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that Tam aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant's Signature

                                                                                       New Haven, CT
                                                                                             City and State



                                                Directions to the United States Marshal

(   ./)   The d!l fe nda nt is RDEf 11D released after processing.
(     )   The U.nitt:d tntcs m~rs h al i ~ ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
          has post d bond and/o r complied with all other conditions for release. If still in custody, the defendant must be produced before
          the appropriate judge at the time and place specified.

                                                                    /s/ Sarah A. L. Merriam, USMJ
Date: _ _ _ _
            11_19_1_2 0_ 1_8_


                                                                                 Sarah A. L. Merriam, U.S.M.J .
                                                                                         Printed name and title




                      DISTRIBUTION:    COURT      DEFENDANT      PRETRIAL SERVICE        US . ATTORNEY        US MARSHAL
